    Case 1-21-40870-jmm       Doc 20-4     Filed 07/01/21   Entered 07/01/21 09:38:12




UNITED STATES BANKRUPTCY COURT                                         pjh9510
EASTERN DISTRICT OF NEW YORK                                           Tax ID #XX-XXXXXXX
__________________________________________X
IN RE: YEKATERINA TUMAYEVA,                              CHAPTER 11

                        DEBTOR.                          BANKR. NO. 1-21-40870-JMM
__________________________________________X
AMERICAN EXPRESS NATIONAL BANK,

                            PLAINTIFF,                   ADV. PROC. NO. 1-21-

              v.

YEKATERINA TUMAYEVA,                                     CORPORATE DISCLOSURE
                                                         STATEMENT
                        DEFENDANT.
__________________________________________X


       American Express National Bank, a national bank, is a wholly owned subsidiary of American

Express Travel Related Services Company, Inc., a New York corporation which is wholly owned by

American Express Company, a New York corporation which is publicly owned and traded.



                                           Respectfully submitted,
                                           Attorneys for Plaintiff



Dated:_July 1, 2021____________      By:     /s/ Paul J. Hooten
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